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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 9, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                                  DALLAS DIVISION
     ------------------------------------------------------------
     In re                                                        § Chapter 11
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                          Case No. 19-34054-sgj11
                                                                  §
                                         Debtor.                  §
     ----------------------------------------------------------- §
     UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
     LONDON BRANCH,                                               §
                                                                  § No. 21-03020
                             Plaintiffs,                          §
                                                                  §
     vs.                                                          §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                                  §
                                         Defendant.               §
     -----------------------------------------------------------
                AMENDED STIPULATION AND SCHEDULING ORDER




     1
              The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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          Upon consideration of the Amended Stipulation and Proposed Scheduling Order [Adv.

  Dkt. No. 95] (the “Stipulation”)2 by and between Plaintiffs UBS Securities LLC and UBS AG

  London Branch (together, “UBS”) and Defendant Highland Capital Management, L.P. (the

  “Debtor,” and together with UBS, the “Parties”), it is HEREBY ORDERED THAT:

          1.       The Stipulation is APPROVED.

          2.       The Stipulation shall be effective immediately.

          3.       The Parties shall follow the below pretrial schedule (the “Joint Pretrial Schedule”)

  in lieu of that provided in the Order Regarding Adversary Proceedings Trial Setting and

  Alternative Scheduling Order [Adv. Dkt. No. 9]:

                                                  Joint Scheduling Order

                                                Event                                   Deadline

                      1     Service of Written Discovery Requests             July 2, 2021
                      2     Service of Written Responses to                   July 23, 2021
                            Discovery
                      3     Completion of Fact Discovery                      August 6, 20213
                      4     Expert Disclosures                                August 13, 2021
                      5     Completion of Expert Discovery                    August 27, 2021
                      6     Dispositive Motions                               September 3, 2021
                      7     Exhibit and Witness Lists                         September 20, 2021
                      8     Joint Pretrial Order                              September 27, 2021
                      9     Proposed Findings of Fact and                     September 27, 2021
                            Conclusions of Law
                     10     Trial Docket Call                                 October 4, 2021 at
                                                                              1:30 p.m. (CT)
                     11     Trial Week Begins                                 October 17, 2021




  2
          A copy of the Stipulation is attached hereto as Exhibit A.
  3
          Ms. Mary Katherine Lucas’ deposition will be taken within thirty days after the termination of her maternity
  leave. See Order Granting Plaintiffs’ Motion to Compel and Denying Motion of Former Employees to Quash
  Subpoenas [Adv. Dkt. No. 94].


                                                           2
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         4.      The Joint Pretrial Schedule set forth in this Order shall only be modified in a writing

  signed by the Parties or upon the entry of an order of the Court entered upon notice to the Parties.

         5.      The Court shall retain jurisdiction over all disputes arising out of or otherwise

  concerning the interpretation and enforcement of this Order.

                                         ### End of Order ###




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                                  EXHIBIT A




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   Sarah Tomkowiak (pro hac vice)           Jeffrey N. Pomerantz (CA Bar No.143717)
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   Washington, District of Columbia 20004   Robert J. Feinstein (NY Bar No. 1767805)
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   Email: andrew.clubok@lw.com              John A. Morris (NY Bar No. 2405397)
          sarah.tomkowiak@lw.com            (admitted pro hac vice)
                                            Gregory V. Demo (NY Bar No. 5371992)
   Jeffrey E. Bjork (pro hac vice)          (admitted pro hac vice)
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                                            Zachery Z. Annable
   BUTLER SNOW LLP                          Texas Bar No. 24053075
   Martin Sosland (TX Bar No. 18855645)     ZAnnable@HaywardFirm.com
   Candice Carson (TX Bar No. 24074006)     10501 N. Central Expy, Ste. 106
   2911 Turtle Creek Blvd., Suite 1400      Dallas, Texas 75231
   Dallas, Texas 75219                      Telephone: (972) 755-7100
   Telephone: (469) 680-5502
   E-mail: martin.sosland@butlersnow.com    Counsel for Highland Capital Management,
           candice.carson@butlersnow.com    L.P.

   Counsel for UBS Securities LLC and
   UBS AG London Branch
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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
  ------------------------------------------------------------
  In re                                                        § Chapter 11
                                                               §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                          Case No. 19-34054-sgj11
                                                               §
                                      Debtor.                  §
  ----------------------------------------------------------- §
  UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
  LONDON BRANCH,                                               §
                                                               § No. 21-03020
                          Plaintiffs,                          §
                                                               §
  vs.                                                          §
                                                               §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                               §
                                      Defendant.               §
  -----------------------------------------------------------
             AMENDED STIPULATION AND PROPOSED SCHEDULING ORDER

           This amended stipulation (the “Amended Stipulation”) is made and entered into by and

  between Plaintiffs UBS Securities LLC and UBS AG London Branch (together, “UBS”) and

  Defendant Highland Capital Management, L.P. (the “Debtor,” and together with UBS, the

  “Parties”), by and through their respective undersigned counsel.

                                                     RECITALS

           WHEREAS, on October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

  petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

  in the Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware

  Court”);




  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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             WHEREAS, on December 4, 2019, the Delaware Court entered an order transferring venue

  of the Debtor’s bankruptcy case (the “Bankruptcy Case”) to this Court;

             WHEREAS, on March 31, 2021, UBS commenced the above-captioned adversary

  proceeding (the “Adversary Case”) against the Debtor by filing its complaint [Adv. Dkt. No. 3]

  (the “Complaint”);

             WHEREAS, on April 1, 2021, the Court issued the Order Regarding Adversary

  Proceedings Trial Setting and Alternative Scheduling Order [Adv. Dkt. No. 9] (the “Alternative

  Scheduling Order”);

             WHEREAS, on May 14, 2021, the Parties filed a Stipulation and Proposed Scheduling

  Order [Adv. Dkt. No. 69];

             WHEREAS, on May 15, 2021, Scott Ellington, Isaac Leventon, Matthew DiOrio, JP

  Sevilla, and Kathryn Lucas (the “Employee Group”) filed the Motion of Former Employees to

  Quash Subpoenas and Brief in Support [Adv. Dkt. 70], and on May 20, 2021, UBS filed Plaintiffs’

  Motion to Compel and Response to Motion of Former Employees to Quash Subpoenas [Adv. Dkt.

  74] (together, and including documents filed in support of and response to, the “Discovery

  Motions”);

             WHEREAS, the Discovery Motions relate to discovery sought in this Adversary Case;

             WHEREAS, on June 24, 2021, the Court held a hearing on the Discovery Motions and

  ordered the Employee Group to produce responsive documents within seven days and sit for

  depositions within thirty days2;




  2
      Ms. Lucas’ deposition will be taken within thirty days after the termination of her maternity leave.


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         WHEREAS, in light of ongoing fact discovery, including as contemplated by the Court’s

  June 24, 2021 ruling, the Parties have conferred and desire to enter into a mutually agreeable

  proposed amended schedule to alter pre-trial deadlines while maintaining the same dates for trial

  docket call and trial as specifically set forth below.

         NOW, THEREFORE, it is hereby stipulated and agreed, and upon approval of this

  Stipulation by the Court, it shall be SO ORDERED:

         1.      The Parties agree to the following amended schedule (the “Amended Proposed

  Joint Scheduling Order”), in lieu of that provided in their earlier Stipulation and Proposed

  Scheduling Order:

                                  Amended Proposed Joint Scheduling Order

                                           Event                         Deadline

                    1    Service of Written Discovery Requests   July 2, 2021
                    2    Service of Written Responses to         July 23, 2021
                         Discovery
                    3    Completion of Fact Discovery            August 6, 2021
                    4    Expert Disclosures                      August 13, 2021
                    5    Completion of Expert Discovery          August 27, 2021
                    6    Dispositive Motions                     September 3, 2021
                    7    Exhibit and Witness Lists               September 20, 2021
                    8    Joint Pretrial Order                    September 27, 2021
                    9    Proposed Findings of Fact and           September 27, 2021
                         Conclusions of Law
                   10    Trial Docket Call                       October 4, 2021 at 1:30
                                                                 p.m. (CT)
                   11    Trial Week Begins                       October 17, 2021


         2.      If approved by the Court, the Amended Proposed Joint Scheduling Order shall only

  be modified in a writing signed by the Parties or upon the entry of an order of the Court entered

  upon notice to the Parties.




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         3.      The Court shall retain jurisdiction over all disputes arising out of or otherwise

  concerning the interpretation and enforcement of this Amended Stipulation, subject to any

  objection to the Court’s jurisdiction or core jurisdiction and subject to any motion for the

  withdrawal of the reference, with respect to which all parties reserve their rights, if any.

                           [Remainder of this page intentionally left blank.]




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    Dated: June 29, 2021

    Respectfully submitted,

    By /s/ Sarah Tomkowiak                       By /s/ Robert Feinstein

    LATHAM & WATKINS LLP                         PACHULSKI STANG ZIEHL & JONES
    Andrew Clubok (pro hac vice)                 LLP
    Sarah Tomkowiak (pro hac vice)               Jeffrey N. Pomerantz (CA Bar No.143717)
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           sarah.tomkowiak@lw.com                (admitted pro hac vice)
                                                 Gregory V. Demo (NY Bar No. 5371992)
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                                                 Zachery Z. Annable
    BUTLER SNOW LLP                              Texas Bar No. 24053075
    Martin Sosland (TX Bar No. 18855645)         ZAnnable@HaywardFirm.com
    Candice Carson (TX Bar No. 24074006)         10501 N. Central Expy, Ste. 106
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    Dallas, Texas 75219                          Telephone: (972) 755-7100
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    Counsel for UBS Securities LLC and
    UBS AG London Branch




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                                  CERTIFICATE OF SERVICE

           I, Martin Sosland, certify that this Amended Stipulation and Proposed Scheduling Order

   was filed electronically through the Court’s ECF system, which provides notice to all parties of

   interest.


           Dated: June 29, 2021

                                                              /s/ Martin Sosland




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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
UBS Securities LLC,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03020-sgj
Highland Capital Management, L.P.,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Aug 09, 2021                                               Form ID: pdf001                                                            Total Noticed: 9
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 11, 2021:
Recip ID                   Recipient Name and Address
aty                    +   Jamie Wine, LATHAM & WATKINS LLP, 885 Third Ave., New York, NY 10022-4874
aty                    +   Jeffrey E. Bjork, Latham & Watkins LLP, 355 S. Grand Ave., Ste. 100, Los Angeles, CA 90071-3104
aty                    +   Katherine George, LATHAM & WATKINS LLP, 330 North Wabash Avenue, Ste. 2800, Chicago, IL 60611-3695
aty                    +   Sarah Tomkowiak, Latham & Watkins LLP, 555 Eleventh Street, NW, Suite 1000, Washington, DC 20004-1359
aty                    +   Zachary F. Proulx, LATHAM & WATKINS LLP, 1271 Avenue of the Americas, New York, NY 10020-1401
ust                    +   Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Aug 09 2021 20:43:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Aug 09 2021 20:43:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Aug 09 2021 20:43:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 11, 2021                                            Signature:           /s/Joseph Speetjens
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District/off: 0539-3                                              User: mmathews                                                         Page 2 of 2
Date Rcvd: Aug 09, 2021                                           Form ID: pdf001                                                       Total Noticed: 9



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 9, 2021 at the address(es) listed
below:
Name                             Email Address
Andrew Clubok
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                                 andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Andrew Clubok
                                 on behalf of Plaintiff UBS AG London Branch andrew.clubok@lw.com
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Candice Marie Carson
                                 on behalf of Plaintiff UBS AG London Branch Candice.Carson@butlersnow.com

Candice Marie Carson
                                 on behalf of Plaintiff UBS Securities LLC Candice.Carson@butlersnow.com

Clay M. Taylor
                                 on behalf of Interested Party James Dondero clay.taylor@bondsellis.com krista.hillman@bondsellis.com

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Frances Anne Smith
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Juliana Hoffman
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                                 txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

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                                 ce@sidley.com

Zachery Z. Annable
                                 on behalf of Defendant Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 16
